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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

                                                      :
                                                         MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG                       :
       “DEEPWATER HORIZON” in the                     :
       GULF OF MEXICO, on                             :
       APRIL 20, 2010                                 :
                                                         SECTION: J
                                                      :
THIS DOCUMENT RELATES TO:                             :
                                                      :
ALL ACTIONS                                           :
                                                         JUDGE BARBIER
                                                      :
                                                         MAG. JUDGE SHUSHAN
                                                      :
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..       . .. .. .. .. .. .. .. .. .. .. .. .. ..


  STATEMENT OF BP EXPLORATION & PRODUCTION INC. RE APPLICABILITY
        OF LIMIT OF LIABLITY UNDER OIL POLLUTION ACT OF 1990

         Defendant BP Exploration & Production Inc. (“BP”) submits the following statement in

response to the Court’s inquiry at the Status Conference on October 15, 2010 regarding the

applicability of the $75 million limit of liability under the Oil Pollution Act, 33 U.S.C. §

2704(a)(3).

             1.   Under the Oil Pollution Act of 1990, BP Exploration & Production Inc. is one of

 the several “Responsible Parties” in connection with the Deepwater Horizon incident and the

 resulting oil spill. Subject to limited statutory exceptions, a Responsible Party has a statutory

 limit of liability under OPA. 33 U.S.C. § 2704(a)-(b).

             2.   BP consistently has said it would pay all legitimate claims, regardless of the OPA

 statutory limit of liability. To this end, BP already has paid claims many times over the OPA

 limit and will live up to its public commitment to pay all legitimate claims made in connection

 with the Deepwater Horizon incident and the resulting oil spill. Accordingly, BP has chosen to

 waive the statutory limitation on liability under OPA; however, by making this statement, BP

 and its affiliates are not admitting anything about their conduct and, indeed, specifically deny


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that they have engaged in any gross negligence in connection with the Deepwater Horizon

incident and the resulting oil spill.

         3.    There are other Responsible Parties in connection with the Deepwater Horizon

incident and the resulting oil spill, including Transocean Holdings LLC, Anadarko Petroleum

Corporation, and MOEX Offshore 2007 LLC.               These other responsible parties have not

expressly waived their rights to invoke OPA's statutory limits on liability that result from the

incident to the individuals and businesses who have been harmed. But BP urges them likewise

to unequivocally waive their respective rights to invoke the limits.

         4.    Even if other Responsible Parties refuse to make such a commitment, it will not

affect BP’s pledge to step forward in the first instance to pay all legitimate claims in an efficient

and fair manner.

         5.    BP reserves the right to seek reimbursement or contribution from other

Responsible Parties and third parties for claims, costs, expenses, and liabilities arising out of the

Deepwater Horizon incident and the resulting oil spill.




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Dated: October 19, 2010                 Respectfully submitted,

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                                        Inc.




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                                 CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that on October 19, 2010, a copy of the foregoing pleading was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to all counsel of record registered to receive electronic service by operation of the court’s

electronic filing system. I also certify that I have mailed this filing by United States Postal

Service to all counsel of record who are not registered to receive electronic service by operation

of the court’s electronic filing system.




                                       /s/ Don K. Haycraft
                                           Don K. Haycraft




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